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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                           8:15CR225

        vs.
                                                                               ORDER
BRIAN CORDONA,

                        Defendant.


        Defendant Brian Cordona appeared before the court on December 14, 2017 on a Petition for
Offender Under Supervision [88]. The defendant was represented by Assistant Federal Public Defender
Richard H. McWilliams, and the United States was represented by Assistant U.S. Attorney Kimberly C.
Bunjer. Through his counsel, the defendant waived his right to a probable cause hearing on the Petition
for Offender Under Supervision [88] pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for
detention, and a detention hearing was held. Since it is the defendant’s burden under 18 U.S.C. § 3143 to
establish by clear and convincing evidence that he is neither a flight risk nor a danger, the court finds the
defendant has failed to carry his burden and that he should be detained pending a dispositional hearing
before Senior Judge Bataillon.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Senior Judge Bataillon in Courtroom No.
3, Third Floor, Roman L. Hruska Federal Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on
January 18, 2018 at 3:00 p.m. Defendant must be present in person.
        2.      The defendant, Brian Cordona, is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        Dated this 14th day of December, 2017.

                                                          BY THE COURT:

                                                          s/ Michael D. Nelson
                                                          United States Magistrate Judge
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